Case 24-11131-1-rel             Doc 159 Filed 12/19/24 Entered 12/20/24 06:00:13                                       Desc
                                    Main Document Page 1 of 1

 UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

 NORTHERN DISTRICT OF NEW YORK
 PDF FILE WITH AUDIO FILE ATTACHMENT

       24-11131

       The College of Saint Rose




       Case Type :                       bk
       Case Number :                     24-11131
       Case Title :                      The College of Saint Rose
       Audio Date\Time :                 12/19/2024 01:37:54 PM
       Audio File Name :                 24-11131.mp3
       Audio File Size :                 5008 KB
       Audio Run Time :                  [00:21:21] (hh:mm:ss)




 Help Using this File

       An audio file is embedded as an attachment in this PDF Document. To listen to the file, you may have to
       download it to your desktop first.Once the file is on your desktop, click the Attachments tab or the Paper
       Clip icon, located in the top left corner of the Adobe program. Then, select the audio file and click
       Open.More information about our audio files can be found on the Attorney Home Page.


 MPEG Layer-3 audio coding technology from Fraunhofer IIS and Thomson.


     This digital recording is a copy of a court proceeding and is provided as a convenience to the public. In
     accordance with 28 U.S.C. § 753 (b) "[n]o transcripts of the proceedings of the court shall be considered as
     official except those made from the records certified by the reporter or other individual designated to produce
     the record."
